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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION


AMERICAN FEDERATION OF STATE,
COUNTY, AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                      Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                      Defendants.



              MOTION FOR NUNC PRO TUNC ENLARGEMENT OF TIME

       Pursuant to Federal Rule of Civil Procedure 6(b)(B), Defendants respectfully request that

the Court grant an extension of time, nunc pro tunc, for Defendants to file the supplemental

declaration of Acting Commissioner Leland Dudek as ordered in the Court’s March 27, 2025,

letter order. Acting Commission Dudek’s declaration was due at 4:00 p.m. today. Despite the

agency’s best efforts to meet the deadline, SSA was unable to file their opposition until 4:52 p.m.

       Defendants apologize to the Court for the late filing. SSA required additional time to

consult with agency leadership and staff to ensure the filing’s completeness and accuracy.

       Defendants conferred with counsel for Plaintiffs, who responded that they take no position

with respect to Defendants’ motion.

Dated: March 28, 2025                        Respectfully submitted,
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                              CERTIFICATE OF SERVICE

       I certify that on March 28, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                       /s/ Elizabeth J. Shapiro
                                                       ELIZABETH J. SHAPIRO




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